Case 1:24-cv-00045-AW-ZCB Document 8-2 Filed 03/26/24 Page 1 of 8

IN THE COURT OF COMMON PLEAS
SUMMIT COUNTY, OHIO

CASE NUMBER: CV-2023-09-3594

JUDGE: SUSAN BAKER ROSS ORDER FILED: 11/01/2023

NOTICE

TO:
JEREMY HALES

2436 W STREETSBORO RD
Peninsula, OH 44264

You are hereby notified that the following has been filed with the Summit County Clerk of Courts Office:

FINAL CIVIL PROTECTION ORDER (SSOOPO), THE TERMS OF THIS ORDER SHALL BE EFFECTIVE
UNTIL 10-10-2025 (R.C.2903.214) MAGISTRATE KANDI! O'CONNOR/JUDGE SUSAN BAKER ROSS

Sandra Kurt, Clerk
Summit County Clerk of Courts
of 8
Case 1:24-cv-00045-AW-ZCB Document 8-2 Filed 03/26/24 Page 2

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FOR
TECTNG CONCERNING THE ATTACHED SAN DRA KURT
PROTECTION ORDER OR CONSENT AGREEMENT

NOTE: Rules 10.01, 10.02, 10.03, and 10.05 of the Rules of Superintenderise tip Wy CPi, 2

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Ohio require this Warning to be attached fo the FRONT of all civil and criminal EX
PARTE of FULL HEARING protection orders issued by the courts of ff

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WARNING TO RESPONDEN cone
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. WARNING To PETITIONER / ALLEGED VICTIM
You cannot change the terms of this Order by your words or

actions. Only the Court may allow the
Respondent/Defendant to contact you or return to your resid

ence. This Protection Order cannot be
changed by either party without obtaining a written court order,

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r.

FORM 10-C: WARNING CONCERNING THE ATTACHED PROTECTION ORDER OR CONSENT AGREEMENT
Effective: April 15, 2024
Case 1:24-cv-00045-AW- ZCB- Document 8- 2. Filed. 03/26/24. Page 3 of 8
FORM 10.03-F: CIVIL STALKING PROTECTION ORDER OR CIVIL SEXUALLY ORIENTED OFFENSE PROTECTION ORDER FULL

HEARING -.- /
IN THE court OF COMMON PLEAS.
a _ SUMMIT _ COUNTY, ~SiNORA KURT

HE or 31 PH 3: Ob

Order of Protection Tenn le cv 2023 09 3504 -

Per R.C. 2903.214(F)(3), this Order is indexed at oS ne Poe s Tm oR Tr IAN
| Judge ‘Susan Baker Ross we re NY
Magistrate Kandi O'Connor | * CE OF CO! RFS
SUMMIT COUNTY SHERIFF State ~ [oxo
LAW ENFORCEMENT AGENCY WHERE INDEXED :
(330) «643 - 04840 Ri CIvIL s STALKING PROTECTION J ORDER

FULL HEARING ‘(R. Cc, 2903. 214).

PHONE NUMBER
ve - Olewvit SEXUALLY. ORIENTED. OFFENSE
a _ we PROTECTION ORDER FULL: HEARING (R.C. 2903.214)
PETITIONER: : a , oo PERSON(S) PROTECTED BY THIS ORDER:
Ss ~) ” Betitioner * déremy Hales =| == ~S«_03/30/1977
_ Petitioner's Family or Household Members:
Oe oT Additional forms. s attached) oe.
Jeremy Hales a Martha Rizk_ 2. pos: 05/10/1982
First Middle Last we Be, a DOB:
- oe To = —— Doe:
Ve cs sy _ DOB:
RESPONDENT: ” - ce RESPONDENT IDENTIFIERS.
- : SEX. "RACE J -HGT.. WGT
so __.M white Jo | 240
John Cook _ EYES | “HAIR - “|. J DOB
First Middle Last. | Grey lL 05... 27 64
. DRIVER'S LIC. NO. _EXP. DATE | STATE
Relationship to Petitioner:- ep

Address where Respondent can be found:

ISi W_orter Crp ek Ave wits — . aeottechas . — a
Otter Croely , Oop gp ten ie

CL] WARNING TO LAW ENFORCEMENT; RESPONDENT HAS FIREARMS ACCESS ~ - PROCEED WITH
CAUTION

Violence Against Women Act, 18 U.S.C. 2265, Federal Full Faith & Credit Declaration: “Registration ¢ of, this Order is not

required for enforcement. ce ,

THE COURT HEREBY FINDS: a os
That it has jurisdiction over the parties and subject matter, and Respondent v was s provided v with’ reasonable notice

and opportunity to be heard within the time: required by Ohio law. Additional fi indings of this Order are set forth
below. . Lo

THE COURT HEREBY ORDERS: :
That the above named Respondent be restrained from committing acts of abuse or.threats of abuse against

Petitioner and other protected persons named in this Order. Additional terms ‘of if this Order: are set forth below.

. We a (DATE CERTAIN - 5 YEARS
The terms of this Order shall be effective until 10 _ 10 “2025 -MAXIMUM)

WARNING TO RESPONDENT: ‘See the warning page attached to the front of this Order.

FORM 10.03-F: CIVIL STALKING PROTECTION ORDER OR CIMIL SEXUALLY ORIENTED OFFENSE PROTECTION ORDER FULL HEARING

Amended: April 15,2021 _
Discard all previous versions of this form
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noe Case No,

This proceeding came on for a full hearing before the Cour on ronio23
The following individuals were Present: De

Petitioner, represented by Atiorniey Eli Heller and Respondent proceeding pro se, via video conference.

Petitioner presented credible testimony and evidence in support of a civil stalking protection order. The
Court specifically notes that Petitioner and Respondent are neighbors at their properties located in
Florida. That this court order issued .in-Ohio must be given full faith and credit pursuant to the
Violence Against Women Act, 18 U.S.C. 2265. The court further notes that when the parties are
Located on their own property, that the distance is reduced to 10 feet.: When. the parties are not on
Their respective properties; the distance:t remains at 500 feet, This order r includes. any internet

And/or electronic communications. : . wey

(_] Additional findings. on a separate page are included and attached herein. oe 7 oS

] The Court fi nds bya pteponderance: of the evidence that A) Respondent has knowingly engaged ina
pattern of conduct that caused: Petitioner to believe that Respondent will cause physical harm or cause
or has caused mental distress; and:2) the following orders a are equitable, fi fair, rand necessary to protect

the persons named in this Order from stalking offenses.;

FORM 10.03-F: CIVIL STALKING PROTECTION ORDER OR CIVIL SEXUALLY ORIENTED OFFENSE PROTECTION ORDER FULL HEARING

Amended: April 15, 2021
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[Page 3 3 of 6 Form 10. 03-F] .

: ‘Case No.

ALL OF THE PROVISIONS C CHECKED BELOW A ALSO APPLY TO RESPONDENT

x1. RESPONDENT SHALL NOT ENTER the tésidence: school, business, place of ‘employment, day care
centers, or child care providers. of.the: protected persons named in this Order, including the buildings,
grounds, and parking lots at those locations. ‘Respondent may not violate this Order even with the
permission of a Protected person. [NCIC 04]

x]4. RESPONDENT SHALL STAY AWAY FROM PETITIONER and all other protected f persons named in

this Order, and not be present within 500 feet or 10 feet while on (distance) of any protected
own property .

persons wherever those protected persons may be found, or any place Respondent knows or should

know the protected persons are likely to be, even witha protected. person’s permission. If

Respondent accidentally comes in: contact with protected.persons in any public.or private place,

Respondent must.départ immediately. This: Order includes encounters on Public and d private roads,

highways, and d thoroughfares. ANCIC 04) oe, ao poe

<7. RESPONDENT SHALL NOT INITIATE OR HAVE ANY: CONTACT with the ‘protected persons named
in this Order or their residences, businesses, places of employment, schdols, day care'centers, or child

care providers. Contact includes, but is not limited to, landline, cordless, cellular or digital

telephone; text; instant messaging; fax; é-mail; voicemail; delivery service; social media; -

blogging; writings; ‘electronic: communications; posting a message; or communications by any other

means directly or through. another person.

Respondent. may not violate this Order even with the permission of a 2 protected person. [NCIC 05]

X19. RESPONDENT SHALL NoT CAUSE OR ENCOURAGE ANY PERSON { to do 6 any act prohibited by
this Order. “ awe wt!

FORM 10.03-F: CIVIL STALKING PROTECTION ORDER OR CIVIL SEXUALLY ORIENTED OFFENSE PROTECTION ORDER FULL HEARING

Amended: April 15, 2021
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Case 1: 24- cv-00045- -AW- ZCB Document 8-2. Filed: 03/26/20" Page: 6 of 8
-FPage 40 of6 Form 10. O08. oa .

(13. IT IS FURTHER ORDERED: [NCIC 08]

FORM 10.03-F: CIVIL STALKING PROTECTION ORDER 0 OR CML SEXUALLY ORIENTED OFFENSE PROTECTION ORDER FULL HEARING

Amended: April 15, 2021
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. [Page 5 of 6 Form 10.03-F] .

this Order or until /

Case No.

/ whichever expires first. The Court further

imposes the following terms and conditions:

[X]17. The Clerk of Court shall cause a copy of this Order to be served on Respondent.as set forth in Civ.R.
5(B) and 65.1(C)(3). The Clerk of Court shall also provide certified copies of this Order to Petitioner

upon request.

18. IF THE FULL HEARING PROCEEDING WAS REFERRED TO A MAGISTRATE, the Court has
reviewed the magistrate’s granting of this Order and finds no error of law or other defect
evident on the face of the Order. Accordingly, the Court adopts the magistrate's granting of this

Order.

20. THE COSTS OF THIS ACTION ARE [assessed aga
| V5

IT IS SO ORD yA

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inst Respondent Xlwaived.
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MAGISTRATE KANDI O’CONNOR 77

/

uv

JUDGE Susan Baker Ross — a

NOTICE TO RESPONDENT

NO PERSON PROTECTED BY THIS ORDER CAN GIVE YOU LEGAL PERMISSION TO CHANGE OR
VIOLATE THE TERMS OF THIS ORDER. IF YOU VIOLATE THE TERMS OF THIS ORDER, EVEN WITH THE
PROTECTED PERSON’S PERMISSION, YOU MAY BE HELD IN CONTEMPT OR ARRESTED. ONLY THE
COURT CAN CHANGE THIS ORDER. YOU ACT AT YOUR OWN RISK IF YOU DISREGARD THIS WARNING.

NOTICE OF FINAL APPEALABLE ORDER

Copies of the foregoing Order, which is a final

appealable order, were served on or delivered

to the parties indicated pursuant to Civ.R.
5(B) and 65.1(C)(3), including ordinary mail

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CLERK OF COURT

TO THE CLERK

A COPY OF THIS ORDER SHALL BE SERVED ON
RESPONDENT PURSUANT TO CIV.R. 65.1(C)(3).

X Petitioner -

[_] Petitioner's Attorney
[_] Respondent's Attorney
[Xx] Law Enforcement Agency Where Petitioner Resides:

[_] Law Enforcement Agency Where Petitioner Works:

[x] Sheriff's Office
Summit

[-] Other:

FORM 10,03-F: CIVIL STALKING PROTECTION ORDER OR CIVIL SEXUALLY ORIENTED OFFENSE PROTECTION ORDER FULL HEARING

Amended: April 15, 2021
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FORM 10.03-F: CiVIL STALKING PROTECTION ORDER OR CIVIL SEXUALLY ORIENTED OFFENSE PROTECTION ORDER FULL HEARING

Amended: April 15, 2021 :
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